Case 4:20-cr-00212-ALM-KPJ Document 1 Filed 08/12/20 Page 1 of 10 PageID #: 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  UNITED STATES OF AMERICA                                  §         SEALED
                                                            §
  v.                                                        §    No. • •

                                                            §    Judge
  DEBRA LYNN MERCER-ERWIN (1)                               §
  RAYLEIGH MOFFETT (2)                                      §
  GUILLERMO GARCIA MENDEZ (3)                               §
  FEDERICO ANDRES MACHADO (4)                               §
  CARLOS ROCHA VILLAURRUTIA (5)                             §
  ALBAN GERARDO AZOFEIFA-CHACON (6)                         §
  AARON BELLO-MILLAN (7)                                    §                FILED
                                      INDICTMENT
                                                                                UG 12 2020
 THE UNITED STATES GRAND JURY CHARGES:

                                       COUNT ONE

                                               Violation: 21 U.S.C. § 846 (Conspiracy to
                                               Manufacture and Distribute Cocaine)

         That sometime in or about 2012, and continuously thereafter up to and including

 the date of this Indictment, in the Eastern District of Texas, and elsewhere, Debra Lynn

 Mercer-Erwin, Kaylei h Moffett, Guillermo Garcia Mendez, Federico Machado,

 Carlos Rocha Villaurrutia, Alban Gerardo Azofeifa-Chacon, and Aaron Bello-

 Millan, defendants, did knowingly and intentionally combine, conspire, and agree with

 other persons known and unknown to the United States Grand Jury, to knowingly and

 intentionally possess with the intent to distribute five kilograms or more of a mixture and




 Indictment - Page 1
Case 4:20-cr-00212-ALM-KPJ Document 1 Filed 08/12/20 Page 2 of 10 PageID #: 2




  substance containing a detectable amount of cocaine, a schedule II controlled substance, a

 violation of 21 U.S.C. § 841(a)(1).

         In violation of 21 U.S. § 846.

                                          COUNT TWO

                                               Violation: 21 U.S.C. § 963 (Conspiracy to
                                               Manufacture and Distribute Cocaine
                                               Intending, Knowing, and with Reasonable
                                               Cause to Believe that the Cocaine will be
                                               Unlawfully Imported into the United States)

         That sometime in or about 2012, and continuously thereafter up to and including

 the date of this Indictment, in Colombia, Ecuador, Panama, Costa Rica, Guatemala,

 Mexico, and elsewhere, Debra Lynn Mercer-Erwin, Kayleigh Moffett, Guillermo

 Garcia Mendez, Federico Machado, Carlos Rocha Villaurrutia, Alban Gerardo

 Azofeifa-Chacon, and Aaron Bello-Millan, defendants, did knowingly and intentionally

 combine, conspire, and agree with other persons known and unknown to the United

 States Grand Jury, to knowingly and intentionally manufacture and distribute five

 kilograms or more of a mixture and substance containing a detectable amount of cocaine,

 a schedule II controlled substance, intending, knowing, and having reasonable cause to

 believe that such substance would be unlawfully imported into the United States, in

 violation of 21 U.S.C. §§ 959(a) and 960.

         In violation of 21 U.S.C. § 963.




 Indictment - Page 2
Case 4:20-cr-00212-ALM-KPJ Document 1 Filed 08/12/20 Page 3 of 10 PageID #: 3




                                      COUNT THREE

                                                Violation: 21 U.S.C. § 959, 18 U.S.C. § 2
                                                (Manufacturing and Distributing Five
                                                Kilograms or More of Cocaine Intending,
                                                Knowing and with Reasonable Cause to
                                                Believe that the Cocaine will be Unlawfully
                                                Imported into the United States)

         That sometime in or about 2012, and continuously thereafter up to and including

 the date of this Indictment, in Colombia, Ecuador, Panama, Costa Rica, Guatemala,

 Mexico, and elsewhere, Debra Lynn Mercer-Erwin, Kayleigh Moffett, Guillermo

 Garcia Mendez, Federico Machado, Carlos Rocha Villaurrutia, Alban Gerardo

 Azofeifa-Chacon, and Aaron Bello-Millan, defendants, aided and abetted by each other,

 did knowingly and intentionally manufacture and distribute five kilograms or more of a

 mixture and substance containing a detectable amount of cocaine, a Schedule II

 controlled substance, intending, knowing, and with reasonable cause to believe that such

 cocaine would be unlawfully imported into the United States.

         In violation of 21 U.S.C. § 959.

                                       COUNT FOUR

                                               Violation: 18 U.S.C. § 1956(h) (Conspiracy
                                               to Commit Money Laundering)

         From in or about 2016, and continuing thereafter up to and including the date of

 this Indictment, in the Eastern District of Texas, and elsewhere, Debra Lynn Mercer-

 Erwin, Kayleigh Moffett, Guillermo Garcia Mendez, Federico Machado, and Carlos

 Rocha Villaurrutia, defendants, did knowingly combine, conspire, and agree together




 I dictment - Page 3
Case 4:20-cr-00212-ALM-KPJ Document 1 Filed 08/12/20 Page 4 of 10 PageID #: 4




 and with others known and unknown to the Grand Jury, to commit offenses against the

 United States in violation of 18 U.S.C. §§ 1956 and 1957, that is:

         (a) to knowingly conduct and attempt to conduct financial transactions

 affecting interstate commerce and foreign commerce, which transactions involved the

 proceeds of specified unlawful activity, that is, wire fraud; distribution or conspiracy to

 distribute or possess with the intent to distribute a controlled substance; and distribution

 or conspiracy to distribute or possess with the intent to distribute a controlled substance

 to a place in the United States from or through a place outside the United States, knowing

 that the transactions were designed in whole and in part to conceal and disguise the

 nature, location, source, ownership, and control of the proceeds of specified unlawful

 activity, and that while conducting and attempting to conduct such financial transactions,

 knew that the property involved in the financial transactions represented the proceeds of

 some form of unlawful activity, in violation of 18 U.S.C. § 1956(a)(l)(B)(i);

         (b) to knowingly conduct and attempt to conduct financial transactions

 affecting interstate commerce and foreign commerce, which transactions involved the

 proceeds of specified unlawful activity, that is, wire fraud; distribution or conspiracy to

 distribute or possess with the intent to distribute a controlled substance; and distribution

 or conspiracy to distribute or possess with the intent to distribute a controlled substance

 to a place in the United States from or through a place outside the United States, knowing

 that the transactions were designed in whole and in part to conceal and disguise the

 nature, location, source, ownership, and control of the proceeds of specified unlawful




 Indictment - Page 4
Case 4:20-cr-00212-ALM-KPJ Document 1 Filed 08/12/20 Page 5 of 10 PageID #: 5




 activit , and that while conducting and attempting to conduct such financial transactions,

 knew that the property involved in the financial transactions represented the proceeds of

 some form of unlawful activity, in violation of 18 U.S.C. § 1956(a)(2)(B)(i); and

         (c) to knowingly engage and attempt to engage, in monetaiy transactions by,

 through, and to a financial institution, affecting interstate and foreign commerce, in

 criminally derived property of a value greater than $10,000, and such property having

 been derived from a specified unlawful activity, that is, wire fraud; distribution or

 conspiracy to distribute or possess with the intent to distribute a controlled substance; and

 distribution or conspiracy to distribute or possess with the intent to distribute a controlled

 substance to a place in the United States from or th ough a place outside the United

 States, in violation of 18 U.S.C. § 1957.

         In violation of 18 U.S.C. § 1956(h).




 Indictment - Page 5
Case 4:20-cr-00212-ALM-KPJ Document 1 Filed 08/12/20 Page 6 of 10 PageID #: 6




              NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
                         18 U.S.C.§§ 981(a)(1), 982(a)(1);
                       21 U.S.C. §§ 853, 881(a), and 970; 28 U.S.C. § 2461

         As a result of committing the offenses as alleged in this Indictment, defendants

 shall forfeit to the United States pursuant to 18 U.S.C. §§ 981(a)(1) and 982(a)(1); 21

 U.S.C. §§ 853, 881(a), and 970; and 28 U.S.C. § 2461 any property constituting, or

 derived from, proceeds obtained directly, or indirectly, as a result of the said violations,

 and any property used, or intended to be used in any manner or paid, to commit or to

 facilitate the commission of the said violations, including but not limited to the following:

 Money Judgment

         A sum of money equal to $350,000,000 in United States cur ency, and all interest
         and proceeds traceable thereto, representing the amount of proceeds obtained by
         defendants as a result of the offenses alleged in this Indictment.

 Aircraft

     a. ACessnaT210K, SerialNo. 21059286, United States Registered Number N8286M

         /N456PF

     b. A Leer31 A, Serial No. 080260RC, United States Registered Number N260RC

     c. A Gulfstream G-1159, Serial No. 236311BD, United States Registered Number

         N311BD

     d. A British Aerospace BAE125-800A, Serial No. 258013, United States Registered

         Number N3 05AG

     e. A Cessna 560, Serial No. 560-0068, United States Registered Number N569LM

     f. A Gulfstream G-l 159A, Serial No. 332, United States Registered Number N939RR




 Indictment - Pa e 6
Case 4:20-cr-00212-ALM-KPJ Document 1 Filed 08/12/20 Page 7 of 10 PageID #: 7




     g. A Gulfstream G-IV, Serial No. 1087, United States Registered Number N368AG

  Substitute Assets

         If any of the property described above as being subject to forfeiture, as a result of

 any act or omission of the defendant:

                 a. cannot be located upon the exercise of due diligence;
                 b. has been transferred or sold to, or deposited with, a third person;
                 c. has been placed beyond the jurisdiction of the court;
                 d. has been substantially diminished in value; or
                 e. has been commingled with other property which cannot be divided
                        without difficulty,

 it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture of

 any other property of defendants up to the value of the above forfeitable property,

 including but not limited to all property, both real and personal, owned by the defendants.

         By virtue of the commission of the felony offenses charged in this Indictment, any

 and all interest defendants have in the above-described property is vested in the United

 States and hereby forfeited to the United States pursuant to 18 U.S.C. § 981(a)(1)(C) and

 28 U.S.C. §2461.




 Indictment - Pa e 7
Case 4:20-cr-00212-ALM-KPJ Document 1 Filed 08/12/20 Page 8 of 10 PageID #: 8




                                         A TRUE BILL




                                         GRAND JURY FOREPERSON


 STEPHEN J. COX
 UNITEH-STATES ATTORNEY




 EIWEST GONZ.                                  Date
 Assistant United




 COLLEEN BLOSS
 Assistant United States Attorney




 Indictment - Page 8
Case 4:20-cr-00212-ALM-KPJ Document 1 Filed 08/12/20 Page 9 of 10 PageID #: 9




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  UNITED STATES OF AMERICA                          § SEALED
                                                    §
  V.                                                § No.
                                                    § Judge
  DEBRA LYNN MERCER-ERWIN (1)                       §
  RAYLEIGH MOFFETT (2)                              §
  GUILLERMO GARCIA MENDEZ (3)                       §
  FEDERICO ANDRES MACHADO (4)                       §
  CARLOS ROCHA VILLAURRUTIA (5)                     §
  ALBAN GERARDO AZOFEIFA-CHACON (6)                 §
  AARON BELLO-MILLAN (7)                            §

                            NOTICE OF PENALTY

                                  Count One

 VIOLATION:                   21 U.S.C. § 846

 PENALTY:                     If 5 kilograms or more of a mixture or substance
                              containing a detectable amount of cocaine - not less
                              than 10 years and not more than life imprisonment, a
                              fine not to exceed $ 10 million, or both. A term of
                              supervised release of at least five years.

 SPECIAL ASSESSMENT:          $100.00

                                  Count Two

 VIOLATION:                   21 U.S.C. § 963

 PENALTY:                     Imprisomnent for not less than ten years o more than
                              life, a fine not to exceed $10,000,000.00 or both. A
                              term of supervised release of at least five years.

 SPECIAL ASSESSMENT:          $100.00




 Indictment - Page 9
Case 4:20-cr-00212-ALM-KPJ Document 1 Filed 08/12/20 Page 10 of 10 PageID #: 10




                                  Count Three

  VIOLATION:                   21U.S.C. §959

  PENALTY:                     Imprisonment for not less than ten years or more than
                               life, a fine not to exceed $10,000,000.00 or both. A
                               term of supervised release of at least five years.

   SPECIAL ASSESSMENT:         $100.00


                                   Count Four


  VIOLATION:                   18U.S.C. § 1956(h)

  PENALTY:                     Imprisonment of not more than 20 years; the greater of
                               a fine not to exceed $500,000 or twice the value of the
                               monetary instrument or funds involved in the
                               transportation, transmission, or transfer, whichever is
                               greater, or both such imprisonment and fine; and a
                               term of supervised release of not more than 3 years.

  SPECIAL ASSESSMENT:          $100.00




  Indictment - Page 10
